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                                                                   Monday, 24 February, 2020 05:03:49 PM
                                                                            Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

JAYLAN BUTLER,                               )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )       Case No. 4:20-cv-04007
                                             )
TRAVIS STAES, East Moline Police             )
Officer, in his individual capacity;         )
ETHAN BUSH, Hampton Police Officer,          )
in his individual capacity; JACK             )
ASQUINI, Rock Island County Sheriff’s        )
Deputy, in his individual capacity;          )
JASON PEÑA, Rock Island County               )
Sheriff’s Deputy, in his individual          )
capacity; and JOHN DOES 1 and 2,             )
unknown law enforcement officers, in         )
their individual capacities,                 )
                                             )
                Defendants.                  )

            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

       1.      Plaintiff Jaylan Butler has always known that he could be targeted by police

officers because he is Black. Mr. Butler’s father taught him at a young age how to maximize his

chances of surviving an encounter with law enforcement—stop instantly, put your hands up,

drop anything you are holding, and drop to your knees. Mr. Butler hoped he would never have to

use his father’s advice. His hope was shattered on February 24, 2019 when, within minutes, Mr.

Butler went from riding on a bus with his college swim team returning from a conference

championship swim meet, to being forcefully held on the ground by police officers with a

handgun pressed into his forehead while a police officer threatened to “blow [his] fucking head

off” if he moved. Even once the police officers realized that this was a case of mistaken identity

and that Mr. Butler had committed no crime, they continued with his detention and arrest.




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                                 JURISDICTION AND VENUE

        2.     This civil action arises under 42 U.S.C. § 1983. The Court has subject matter

jurisdiction over Plaintiff’s federal claims pursuant to 28 U.S.C. §§ 1331 and 1343. The Court

has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

        3.     Venue is proper under 28 U.S.C. § 1391 because all of the conduct complained of

occurred within this District.

                                             PARTIES

        4.     Plaintiff Jaylan Butler is a student at Eastern Illinois University in Charleston,

Illinois.

        5.     Defendant Travis Staes was at all relevant times a police officer acting under

color of state law for the City of East Moline, Illinois. Defendant Staes is sued in his individual

capacity.

        6.     Defendant Ethan Bush was at all relevant times a police officer acting under color

of state law for the City of Hampton, Illinois. Defendant Bush is sued in his individual capacity.

        7.     Defendant Jack Asquini was at all relevant times a Sheriff’s deputy acting under

color of state law for the County of Rock Island, Illinois. Defendant Asquini is sued in his

individual capacity.

        8.     Defendant Jason Peña was at all relevant times a Sheriff’s deputy acting under

color of state law for the County of Rock Island, Illinois. Defendant Peña is sued in his

individual capacity.

        9.     Defendants JOHN DOE 1 and 2 are unknown police officers who acted under

color of state law. Defendants DOE 1 and 2 are sued in their individual capacities.




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                                              FACTS

       10.     Mr. Butler attends Eastern Illinois University in Charleston, Illinois, and is a

member of the school’s swim team.

       11.     In February 2019, the Eastern Illinois University swim team competed in the

Summit League Swimming and Diving Championships in Sioux Falls, South Dakota.

       12.     On February 24, 2019, the Eastern Illinois University swim team was traveling by

charter bus from South Dakota back to Charleston, Illinois. After several hard days of

swimming, Mr. Butler was looking forward to relaxing and socializing with his teammates on the

long bus ride home.

       13.     Shortly after 8:00 p.m., the bus pulled over on a frontage road off of Interstate 80

near a rest stop in East Moline, Illinois. Mr. Butler and several students stepped off the bus to

stretch their legs. One of Mr. Butler’s coaches suggested he take a photo of a road sign that said

“Buckle Up. It’s the Law” to post on the team’s social media account. Mr. Butler took a photo of

himself smiling in front of the sign, and then began walking back toward the bus.

       14.     After only a few steps, several law enforcement vehicles with flashing lights

suddenly pulled up in front of him.

       15.     Defendants Staes and Bush were in one of those vehicles. On information and

belief, Defendants Asquini, Peña, Doe 1, and Doe 2 were in separate vehicles.

       16.     When Mr. Butler saw the law enforcement vehicles pull up, he was surprised and

confused, but knew what to do. He instantly stopped, put his hands up, dropped the cell phone

that was in his hand, and dropped to his knees.




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       17.      Mr. Butler had not committed or attempted to commit any crime. The officers did

not observe Mr. Butler committing any crime, attempting to commit any crime, or behaving

suspiciously.

       18.      Defendants exited the vehicles with their firearms pointed at Mr. Butler. At least

one Defendant was carrying what appeared to be a rifle.

       19.      Defendants shouted at Mr. Butler: “Get down!” and “Don’t fucking move! Stay

right there!”

       20.      Mr. Butler kept his hands up and complied with Defendants’ orders.

       21.      Defendants forced Mr. Butler to lie face down on the snowy ground.

       22.      On information and belief, Defendants Staes, Asquini, Peña, and additional

Defendants held Mr. Butler down while Defendant Bush handcuffed his arms behind his back.

       23.      Defendant Asquini pressed his right knee into Mr. Butler’s back, and at least one

Defendant was pressing down on Mr. Butler’s neck.

       24.      Another Defendant was squatting down in front of Mr. Butler. He put his handgun

against Mr. Butler’s forehead and said, “If you keep moving, I’m going to blow your fucking

head off.”

       25.      Mr. Butler was unarmed and did not exhibit any behavior to suggest he was

carrying a weapon.

       26.      Mr. Butler did not resist Defendants and complied with all of Defendants’ orders.

       27.      Mr. Butler never threatened Defendants or anyone else, or made any threatening

movements.




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       28.     The charter bus driver asked Defendants what they were doing with his passenger.

Mr. Butler’s swim coach explained to the officers that Mr. Butler was part of the Eastern Illinois

University swim team.

       29.     Mr. Butler also tried to explain to Defendants that he was part of the Eastern

Illinois University swim team and the charter bus was the swim team’s bus.

       30.     Defendants quickly realized that Mr. Butler was not the suspect for whom they

were searching. Defendant Staes informed the local dispatcher that it was a false alarm.

       31.     After several minutes of forcing Mr. Butler to lie face down on the ground while

handcuffed, Defendants allowed Mr. Butler to sit up. They did not, however, remove his

handcuffs or inform him that he was free to go, even though they had already recognized that

Mr. Butler was not the suspect for whom they were searching.

       32.     Defendants told Mr. Butler he was being arrested for resisting arrest.

       33.     Defendants had no justification for continuing to detain Mr. Butler.

       34.     After several more minutes of sitting on the ground handcuffed, Defendants

picked up Mr. Butler and forced him over to a squad car. Defendants patted him down, searched

inside of his coat pockets, and placed him in the back of a squad car.

       35.     Defendants left Mr. Butler in the squad car for several minutes.

       36.     Thereafter, Defendants finally removed Mr. Butler’s handcuffs and asked him to

retrieve his identification card from the bus. Mr. Butler complied and was released from police

custody.

       37.     Defendants never told Mr. Butler why they detained and arrested him, particularly

after recognizing that he was not the suspect for whom they were searching.




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       38.     Mr. Butler informed at least two Defendants that he wanted to make a complaint.

The first Defendant ignored him. The second Defendant said, “There’s nothing I can do.”

Neither Defendant gave Mr. Butler any of the Defendants’ names, badge numbers, law

enforcement agency affiliations, or any other information to enable him to file a complaint.

       39.     Defendants did not document the stop and search as required under the Illinois

Traffic and Pedestrian Stop Statistical Study Act, 625 ILCS 5/11-212.

       40.     Defendants did not give Mr. Butler a receipt for the stop and search as required

under 725 ILCS 5/107-14.

       41.     Mr. Butler was traumatized by this incident. Since the event, he has felt angry,

scared, and depressed. He has had trouble concentrating at school and participating in activities.

       42.     In class the next day, Mr. Butler found himself staring down at the bruises around

his wrists, replaying the previous night’s events in his head until finally he realized his class had

ended and he was the only person still sitting there.

       43.     Over the next several months, Mr. Butler tried to keep a positive outlook and not

think about this frightening incident, but his emotions still surfaced. He became acutely aware of

the presence of police officers, and seemingly innocuous events would trigger feelings of fear

and anxiety. One day, upon seeing multiple officers responding to a car accident, he began to

tear up as he relived his experience with Defendants.

       44.     Mr. Butler began seeing a therapist to address the trauma and depression caused

by Defendants’ conduct.

       45.     Defendants’ unlawful conduct directly and proximately caused Mr. Butler’s

emotional distress.




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         46.    Each of the Defendants personally participated in the unlawful conduct described

herein, or failed to intervene or stop the other Defendants from engaging in the unlawful

conduct.

                        COUNT I: Fourth Amendment, 42 U.S.C. § 1983
                               Unlawful Search and Seizure

         47.    The allegations of paragraphs 1 through 46 are realleged and incorporated by

reference as if fully set forth herein.

         48.    Defendants seized Mr. Butler when they ordered him to get on the ground. This

seizure did not end until Mr. Butler’s handcuffs were removed and he was free to leave the

scene.

         49.    Defendants did not have a reasonable suspicion that Mr. Butler had committed,

was committing, or was about to commit a crime at any point during their seizure of Mr. Butler.

         50.    Mr. Butler did not match the description of the suspect for whom Defendants

were searching.

         51.    Defendants intentionally and unlawfully patted down and searched Mr. Butler

without reasonable suspicion, probable cause, consent, or any other lawful justification.

         52.    Defendants did not have a reasonable suspicion to believe that Mr. Butler was

concealing a weapon or otherwise posed any danger to the officers or others at the time they

patted him down and searched his pockets.

         53.    Defendants acted under color of law when they searched and seized Mr. Butler.

         54.    The actions of Defendants described herein violated the rights of Mr. Butler to be

free from unlawful searches and seizures as guaranteed by the Fourth Amendment of the United

States Constitution.




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                        COUNT II: Fourth Amendment, 42 U.S.C. § 1983
                                        False Arrest

        55.     The allegations of paragraphs 1 through 54 are realleged and incorporated by

reference as if fully set forth herein.

        56.     Defendants arrested Mr. Butler without probable cause.

        57.     Defendants acted under color of law when they arrested Mr. Butler without

probable cause.

        58.     The actions of Defendants described herein violated the rights of Mr. Butler to be

free from unlawful seizures as guaranteed by the Fourth Amendment of the United States

Constitution.

                       COUNT III: Fourth Amendment, 42 U.S.C. § 1983
                                    Excessive Detention

        59.     The allegations of paragraphs 1 through 58 are realleged and incorporated by

reference as if fully set forth herein.

        60.     Defendants arrested Mr. Butler without an arrest warrant.

        61.     Defendants unreasonably delayed releasing Mr. Butler from custody.

        62.     Defendants acted under color of law when they unreasonably delayed releasing

Mr. Butler.

        63.     The actions of Defendants described herein violated the rights of Mr. Butler to be

free from unreasonable seizures guaranteed by the Fourth Amendment of the United States

Constitution.

                       COUNT IV: Fourth Amendment, 42 U.S.C. § 1983
                                    Excessive Force

        64.     The allegations of paragraphs 1 through 63 are realleged and incorporated by

reference as if fully set forth herein.



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        65.      Defendants intentionally used force against Mr. Butler.

        66.      The force Defendants used was unreasonable in light of the facts and

circumstances.

        67.      Defendants acted under color of law when they used unreasonable force against

Mr. Butler.

        68.      The actions of Defendants described herein violated the rights of Mr. Butler to be

free from unreasonable seizures guaranteed by the Fourth Amendment of the United States

Constitution.

                         COUNT V: Fourth Amendment, 42 U.S.C. § 1983
              Failure of Bystander Officers to Intervene in Unconstitutional Conduct

        69.      The allegations of paragraphs 1 through 68 are realleged and incorporated by

reference as if fully set forth herein.

        70.      As alleged in Counts I-IV, Defendants violated Mr. Butler’s constitutional rights.

        71.      The bystander Defendants who were present but did not participate in the

violations of Mr. Butler’s constitutional rights knew that the other Defendants were about to

violate Mr. Butler’s constitutional rights.

        72.      The bystander Defendants had a realistic opportunity to do something to prevent

harm from occurring to Mr. Butler.

        73.      The bystander Defendants failed to take reasonable steps to prevent harm from

occurring to Mr. Butler.

        74.      The bystander Defendants’ failure to act caused Mr. Butler to suffer harm.




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                         COUNT VI: Fourth Amendment, 42 U.S.C. § 1983
                                      Civil Conspiracy

        75.     The allegations of paragraphs 1 through 74 are realleged and incorporated by

reference as if fully set forth herein.

        76.     On February 24, 2019, Defendants agreed to unlawfully search Mr. Butler without

reasonable suspicion or probable cause that Mr. Butler was in the course of committing or had

committed a crime. Defendants then unlawfully patted down and searched Mr. Butler without

reasonable suspicion, probable cause, or any other lawful justification.

        77.     Despite awareness of all Defendants that Mr. Butler was not the suspect,

Defendants agreed to leave Mr. Butler handcuffed in the snow and subsequently move him to the

squad car. Defendants had no lawful justification for continuing to detain Mr. Butler.

        78.     Defendants agreed not to provide Mr. Butler any information. Mr. Butler

informed at least two Defendants that he wanted to make a complaint. Neither Defendant

provided Mr. Butler with any of the Defendants’ names, badge numbers, law enforcement

agency affiliations, or any other information that would have enabled him to file a complaint.

Defendants did not document the stop and search as required under the Illinois Traffic and

Pedestrian Stop Statistical Study Act, 625 ILCS 5/11-212. Defendants did not give Mr. Butler a

receipt for the stop and search as required under 725 ILCS 5/107-14.

        79.     In the course of this unlawful conduct, Defendants reached an agreement among

themselves to deprive Mr. Butler of his constitutional rights and to protect each other from

liability for depriving Mr. Butler of his rights.

        80.     In furtherance of the conspiracy, each of the co-conspirators committed overt acts

and was an otherwise willful participant in joint activity that actually deprived Mr. Butler of his

constitutional rights.



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        81.     As a direct and proximate result of the illicit prior agreement referenced above,

Mr. Butler’s rights were violated and he suffered injuries, including, but not limited to, emotional

distress as described above.

                  COUNT VII: Article I, Section 6 of the Illinois Constitution

        82.     The allegations of paragraphs 1 through 81 are realleged and incorporated by

reference as if fully set forth herein.

        83.     Defendants unreasonably and unlawfully arrested, detained, searched and used

force against Mr. Butler.

        84.     The actions of the Defendants described herein violated the rights of Mr. Butler to

be free from unreasonable searches, seizures, and invasions of privacy as guaranteed by Article I,

Section 6 of the Illinois Constitution.

                            COUNT VIII: State Tort of False Imprisonment

        85.     The allegations of paragraphs 1 through 84 are realleged and incorporated by

reference as if fully set forth herein.

        86.     Defendants unreasonably and/or unlawfully restrained Mr. Butler’s personal

liberty against his will.

        87.     Defendants intended to restrain Mr. Butler.

        88.     Based upon the foregoing, Defendants are liable for the Illinois common law tort

of false imprisonment.

                                COUNT IX: State Tort of False Arrest

        89.     The allegations of paragraphs 1 through 88 are realleged and incorporated by

reference as if fully set forth herein.

        90.     Defendants restrained and/or arrested Mr. Butler.




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        91.        Defendants did not have reasonable grounds to believe that Mr. Butler had

committed an offense.

        92.        Based upon the foregoing, Defendants are liable for the Illinois common law tort

of false arrest.

                           COUNT X: State Tort of Intrusion on Seclusion

        93.        The allegations of paragraphs 1 through 92 are realleged and incorporated by

reference as if fully set forth herein.

        94.        Defendants intentionally invaded Mr. Butler’s seclusion when they forcibly

stopped, arrested, searched, and detained him without reasonable suspicion, probable cause,

consent, or other lawful justification.

        95.        Defendants’ actions would be highly offensive to any reasonable person.

        96.        Defendants’ actions were undertaken intentionally, with malice and reckless

indifference to Plaintiff’s rights.

        97.        The matter intruded upon was private.

        98.        As a result of these intrusions, Mr. Butler has suffered mental anguish.

        99.        Based upon the foregoing, Defendants are liable for the Illinois common law tort

of intrusion upon seclusion.

                                   COUNT XI: State Tort of Assault

        100.       The allegations of paragraphs 1 through 99 are realleged and incorporated by

reference as if fully set forth herein.

        101.       A currently unidentified Defendant screamed, “If you keep moving, I’m going to

blow your fucking head off,” while pointing his gun to Mr. Butler’s head.

        102.       This threat caused Mr. Butler to reasonably apprehend an imminent battery.




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           103.   Defendant’s actions were intentional.

           104.   Based upon the foregoing, Defendant is liable for the Illinois common law tort of

assault.

                                 COUNT XII: State Tort of Battery

           105.   The allegations of paragraphs 1 through 104 are realleged and incorporated by

reference as if fully set forth herein.

           106.   Defendants intentionally touched Mr. Butler’s body when they forcefully pinned

him to the ground.

           107.   Defendants’ touching was harmful and/or offensive.

           108.   Based upon the foregoing, Defendants are liable for the Illinois common law tort

of battery.

              COUNT XIII: State Tort of Intentional Infliction of Emotional Distress

           109.   The allegations of paragraphs 1 through 108 are realleged and incorporated by

reference as if fully set forth herein.

           110.   Defendants’ conduct described herein was extreme and outrageous.

           111.   Defendants intended to cause Mr. Butler emotional distress and/or recklessly

disregarded the probability of causing Mr. Butler emotional distress.

           112.   Mr. Butler suffered severe and/or extreme emotional distress.

           113.   Mr. Butler’s emotional distress was proximately caused by Defendants’

outrageous conduct.

           114.   Based upon the foregoing, Defendants are liable for the Illinois common law tort

of intentional infliction of emotional distress.




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                     COUNT XIV: Civil Conspiracy to Violate Illinois Law

        115.     The allegations of paragraphs 1 through 114 are realleged and incorporated by

reference as if fully set forth herein.

        116.     On February 24, 2019, Defendants agreed to unlawfully search Mr. Butler without

reasonable suspicion or probable cause that Mr. Butler was in the course of committing or had

committed a crime. Defendants then unlawfully patted down and searched Mr. Butler without

reasonable suspicion, probable cause, or any other lawful justification.

        117.     Despite awareness of all Defendants that Mr. Butler was not the suspect,

Defendants all agreed to leave Mr. Butler handcuffed in the snow and subsequently move him to

the squad car. Defendants had no lawful justification for continuing to detain Mr. Butler.

        118.     Defendants agreed not to provide Mr. Butler with any information. Mr. Butler

informed at least two Defendants that he wanted to make a complaint. Neither Defendant

provided Mr. Butler with any of the Defendants’ names, badge numbers, law enforcement

agency affiliations, or any other information that would have enabled him to file a complaint.

Defendants did not document the stop and search as required under the Illinois Traffic and

Pedestrian Stop Statistical Study Act, 625 ILCS 5/11-212. Defendants did not give Mr. Butler a

receipt for the stop and search as required under 725 ILCS 5/107-14.

        119.     The purpose of the conspiracy was to detain and search Mr. Butler and protect

each other from liability for Defendants’ unlawful actions.

        120.     In furtherance of this conspiracy, Defendants committed the above described

tortious acts.

        121.     Defendants’ tortious acts are the direct and proximate cause of Mr. Butler’s harm,

which includes but is not limited to humiliation and emotional distress.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Mr. Butler respectfully requests the following relief:

       A.       A declaratory judgment that Defendants violated Mr. Butler’s right to be free

from unreasonable searches, seizures, and invasions of privacy guaranteed by the Fourth

Amendment of the United States Constitution and Article I, Sections 6 of the Illinois

Constitution.

       B.       Compensatory damages, in an amount to be ascertained at trial.

       C.       Punitive damages, in an amount to be ascertained at trial, for Defendants’

intentional and/or willful and wanton conduct described herein.

       D.       Attorneys’ fees, costs, and expenses, pursuant to 42 U.S.C. § 1988 and the Illinois

Civil Rights Act of 2003, 740 ILCS 23/1 et seq.

       E.       Such other and further relief as this Court may deem just and proper.



DATED: February 24, 2020                             Respectfully submitted:

                                                     s/ Rachel Murphy
                                                     One of Plaintiff’s Attorneys

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                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on February 24, 2020, she caused the
foregoing FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL to be filed
electronically using the CM/ECF system which will send notification of such filing to all parties
and attorneys of record who are CM/ECF participants.


                                             s/ Rachel Murphy




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